
703 S.E.2d 148 (2010)
UNION LAND OWNERS ASSOCIATION, an unincorporated association; Craft Development LLC, a North Carolina Limited liability company; R.D. Harrell Company, a North Carolina corporation; Fairview Developers, Inc., a North Carolina Corporation, Plaintiffs,
v.
The COUNTY OF UNION, a political Subdivision of the State of North Carolina, Defendant.
No. 10P10.
Supreme Court of North Carolina.
October 7, 2010.
Daniel C. Higgins, Raleigh, for Union Land Owners, et al.
H. Ligon Bundy, Monroe, S. Mark White, for Union County.
Prior report: ___ N.C.App. ___, 689 S.E.2d 504.

ORDER
Upon consideration of the petition filed on the 12th of January 2010 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 7th of October 2010."
